Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 1 of 18




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA
   PRINTED CIRCUIT CO., LTD.

                  Plaintiff,
   v.

   CIRCUITRONIX, LLC,

               Defendant.
   ____________________________

             NOTICE OF CORRECTION OF PLAINTIFF’S EXHIBIT B
   TO THE HUANG DECLARATION FOR THE MOTION FOR SUMMARY JUDGMENT

          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd.’s collection of purchase-order

   documents called Exhibit B to the Huang Declaration (DE 186) was inadvertently incomplete.

          Therefore, Plaintiff’s counsel respectfully requests that the attached corrected Exhibit

   (noted as “Exibit B (Corrected)”) be considered an amendment to the previously filed entry, and

   as the true and correct exhibit. Its material is rearranged, highlighted, and indexed, for much-

   improved readability.



   Dated: June 27, 2023
          New York, New York
                                                         Respectfully submitted,

                                                         MAZZOLA LINDSTROM LLP
                                                         Attorneys for Plaintiff Benlida

                                                         By: /s/ Jean-Claude Mazzola
                                                         Jean-Claude Mazzola
                                                         1350 Avenue of the Americas, 2nd Floor
                                                         New York, NY 10019
                                                         646.250.6666
                                                         jeanclaude@mazzolalindstrom.com
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                                  Exhibit B
                               (Corrected) to
                             Declaration of Tracy
                                   Huang

      Contents:

      X29 CTX-US-BLD   pp. 2-3
      X63 CTX-US-BLD   pp. 4-5
      X29 CTX-US-ROK   pp. 6-7
      X31 CTX-US-ROK   pp. 8-9

      X19 CTX-HK-BLD   pp. 10-11
      X27 CTX-HK-BLD   pp. 12-14
      X66 CTX-HK-BLD   p. 15
      X19 CTX-HK-ROK   pp. 16-17
         Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 3 of 18
       [circuitronix
                                                                                                      Purchase Order
                                                                                          Date                            PO#

                                                                                        5/12/2016              BEN-136-160032-C-X29

       3131 SW 42nd Street
       Fort Lauderdale, FL 33312
       United States                                                                                                                        Page 1 of 2




       Vendor                                                                 Ship To
       Jiangmen Benlida Printed Circuit Company Limited
       No. 76 Long Xi Road, High-tech Industrial Park,
       Jiangmen,
       Gq     dong,
       chen                                                                   CTX Hong Kong




         PO Rev Level          Ship By           Ship Via        Memo                                      Terms                     FOB

                               6/9/2016                                                                    AMS 60N                   HKG


       Part #                    Unit Type      Quantity    Description                                              Unit Price          Amount
C
|
1092-83-1102-R Rev C Piece 600  1092-83-1102-R Rev (File:                                                                         1.07            642.00
                                1065414_3_1_GB1092-83-1102-RC.zip ) [07-24-2013]
                               FR4 (11); 0.062+/-0.0075 Board THK; 2/2 OZ(Finish);
                               2L;6.8X3.9(1}; 21X24(15); 0.020/0.020 (Line/space);
                               0.018 (Hole): SMOBC (Dark Blue color,       DSR 3241 or
                               TAIVO INK $222 NA404 or HYSOL SR1010); 18S
                               (White); LF IM Silver
                               Notes:
                                1> Rout Length:26/Panel; Hole:504/panel; Vout 0
                               ‘panel;
                                  > Lead free, RoHS compliant;
                               3> Build to ANS| Standard Y14.5 and IPC-A-600;
                               4> Solderability test requirements per ANSI
                               J-STD-003;
                               5> Allholes are +/-0.003 total indicator reading from
                               xyeoorsinates, except tooling holes location tolerance
                                                            "i



                                                            6> Material must be recognized by UL796 & per UL
                                                            category ZMPV2 at 825 deg.F(274 deg.C) minimum
                                                            soldering temperature for five seconds minimum;
                                                            7> Each hole must have an annular ting of copper
                                                            except where specified by design:
                                                            8> Copper pattern to be +0/-0. 408 trom supplied
                                                            artwork or gerber:
                                                            9> COC required:
                                                            10> Surface lonic Contamination: Below 6.4
                                                            micro-grams / square inch NaCl equivalent per IPC
                                                            TM-650 method 2.3.28 or 2.3.28.2 (lon
                                                            Chromatography). (per spec GI 754 rev T);
                                                            11> Surface Insulation Resistance: Greater than 100
                                                            Mega ohms per IPC TM-650 method 2.9.27. (per spec
                                                                 BA rev Th:
                                                            12> ULL. Requirements: Flammability - 94V-0 ;
                                                            Maximum Operating Temperature - 130 degrees C:UL
                                                            category code: ZPMV2 and ZPMV8. (per spec GI 754
                                                            revT);
                                                            13> All PCBs must have a CTI of 175 or greater
                                                            which corresponds to PLC 3 or less (per Spec GI 754
                                                            revT);
                                                            14> Flatness of board: Papet/Composite (CEM-1,
                                                            FR-1, FR-2) = .015 inchvinch; Glass based and
                                                            multilayer (FR-4) = .010 inch/inch; Surface Mount
                                                            (ER-A) = .0076 inchvinch, toeIspe0 Gl 754 rev):
                                                              5 Copper thickness (PTH): 0.0009 inch minimum.
                                                            (per spec Gl 784 rev T):
                                                            6 No repairsinside of surface mount patterns (per
                                                            spec GI 754 rev T):
                                                            Tee ondcetor wleths: Not to be recused more than
                                                            20% for any reason. (per spec Gl 754 rev T);
                                                            18> Spacing between conductors: Not to be
                                                            decreased by more than 20%. (per spec GI 784 rev T);
                                                            18> No pad breakout. (per spec Gl 784 rev T);
                                                            20> Approved Laminates for Glass Based
                                                            FR-4/CEM-3: Nanya NP140 (FR-4-86) Tg 140 (11),
                                                            Nanya NP140-TL Tg 140 (11), Matsushita CEM-3
   Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 4 of 18

circuitronix,                                                                                                            Purchase Order
                                                                                                        Date                                      PO#

                                                                                                    5/12/2016                        BEN-136-160032-C-X29

3131 SW 42nd Street
Fort Lauderdale, FL 33312
United States                                                                                                                                                   Page 2 of 2




Part #                           Unit Type          Quantity         Description                                                           Unit Price     Amount
                                                                     R-1781-1786 (18). (per spec GI 754 rev T);
                                                                     21> Approved LegendInks (White): Haven PC441,
                                                                     Haven PC421, Tamura ? (forsingle-sided), UV Taiyo
                                                                     S-210W, UV Taiyo S-41 1W, UV OTC M-2T1W (pet
                                                                     spec GI 754 rev T);
                                                                     22> Bar codedlabel is required. Reference Bar
                                                                     Code Label Specifications for Receiving 12.1.11.docx:
                                                                     23> Part numbers ending with "-R®suffix: Require
                                                                     PCB materials to be compliant to the latest recast of
                                                                     EU RoHS Directive 2002/95/EC. Shall use BLUE
                                                                     solder mask (approved list) unless otherwise specified
                                                                     in the drawing as “green” (per spec GI 784 rev T);

                                                                     Notes to Factory:
                                                                     1> Run boards through UV curing machine at
                                                                     m/min and then turn it around to cure the second side
                                                                     at the same speed;
                                                                     2> and then wash with Enviro Gold #816 chemical
                                                                     or equivalent to clean the board before packing:

                                                                     Please NOTE: CTX ULlogo must be used on these
                                                                     boards.




                                                                                                                                      Total                        $642.00


This order Is subject fo allached Orcuilvonix terms and condiions, Olcuionix UL fogshould ba used to build the boards.

Supplier wil be responsible for all costs because of their quality issue, including any additional efforts at incoming inspection, and sorting, ete.

ifthetotal quanty of any order is not completed by the delivery date cornnitted by the factory while aocepting the orders, any addhional freight costs incurred by Cireitronix
wil be charged back to the supplier.
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Circuitronix, LLC
3131 SW 42nd Street                                                 Entry number                       Date            Supplier
Fort Lauderdale, FL 33312
                                                                    PO003663                           10/9/2018       JIANG001
Phone:      7863644458
                                                                    Reference
Fax:        3053779008
                                                                    X63




Supplier:                                                                 Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                          Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                             C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                3A Hung Cheung Road, Tuen Mun, NT
                                                                            Hong Kong




                                                 CoC         PPAP           Receipt date       Ordered             Net price            Tax
 Supplier PN
                                                                                               quantity                              excluded
                                                                                                                                      amount
 10103977P1                                      Yes         None           12/19/2018               1,002 PC         0.88300             884.77




 Shipment mode              None
                                                                           Tax excluded line total                                  884.77 USD
 Payment term               60 Day After Monthly Statement                 TOTAL TAX                                                  0.00 USD
                                                                           TOTAL TAX INC                                            884.77 USD
 Incoterm                   Free on board

 Incoterm Town              HKG




                                                                                                                                  Page 1 of 1
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Circuitronix, LLC                                                                      Entry number                          Date              Supplier
3131 SW 42nd Street                                                                    PO003663                              10/9/2018         JIANG001
Fort Lauderdale, FL 33312
                                                                                     Reference
Phone:      7863644458
                                                                                     X63
Fax:        3053779008



Supplier:                                                                                  Ship To CTX Address:

 Jiangmen Benlida Printed Circuit Company Limited                                            Circuitronix, LLC
 No. 76 Long Xi Road High-tech Industrial Park                                               C/O DHL Global Forwarding (Hong Kong) Limited
 Jiangmen, Guangdong, China                                                                  8/F Block 1, Goodman Tuen Mun Distribution Centre,
  Hong Kong                                                                                  3A Hung Cheung Road, Tuen Mun, NT
                                                                                              Hong Kong




 Supplier PN

 10103977P1
 P/N: 10103977P1 (per filename) (File: 10103977P1 - gerbers.zip, email info [10-13-2015], email info [11-13-2015] ), 10103977P1-panel.pdf
 [11-20-2015]
 FR4, Tg170 per email ; 0.063 ±10% (per email) Board THK; 1/1/1/1 OZ (Finish per EQ reply); 4L; 3.909X9.285(3); 20X24(10); 0.010/0.008
 (Line/space); 0.020 (Hole); SMOBC (green); 2SS (White); ENIG (Ni>120u", Au 2-5u" per EQ reply)
 Notes:
 1> Rout Length: 63/Panel; Hole: 902/panel; Vcut 0 /panel;
 2> IPC-A-600G;
 3> ROHS Compliant per email;
 4> Lead free per gerber;
 5> CTX suggested array (circuit size: 3.209 x 2.795);  approved 10103977P1-panel.pdf per EQ reply
 6> Pth tolerance: ±0.003", Npth tolerance: ±0.002" (per email);
 7> Packaging requirements per GCMP008 rev 6 (Global Packaging Aesthetic Standard);
 8> Suppliers are required to adhere with Supplier Quality Manual Exhibit 1;
 9> Suppliers must be certified/registered to one of the following: ISO 9001, ISO/TS16949 and/or SAE AS9100 (per Supplier Quality Manual Exhibit 1);
 10> All production part sample submissions shall be in accordance with PPAP (per Supplier Quality Manual Exhibit 1);
 11> Suppliers shall not ship production parts until a Full or Interim approval is received via a signed Parts Warrant (PSW) (per Supplier Quality Manual
 Exhibit 1);
 12> Suppliers are required to implement ProCert (per Supplier Quality Manual Exhibit 1);
 13> PPAP requirements per Appendix 1 (per Supplier Quality Manual Exhibit 1);
 14> PSW format per Attachment 1 (per Supplier Quality Manual Exhibit 1);
 15> Initial Sample Inspection Report/Dimensional Test Result format per Attachment 3 (per Supplier Quality Manual Exhibit 1);
 16> Material Test Resuts format per Attachment 4 (per Supplier Quality Manual Exhibit 1);
 17> Performance Test Results format per Attachment 5 (per Supplier Quality Manual Exhibit 1);
 18> Appearance Approval Report format per Attachment 6 (per Supplier Quality Manual Exhibit 1);
 19> Control Plan format per Supplier Quality Manual Exhibit 1;
 20> With using plant consent, Suppliers may use their own internal documents/forms, as long as they contain all required information (per Supplier
 Quality Manual Exhibit 1);
 21> Stack-up per EQ reply:
 1------------H OZ + Plating (finished 1 OZ)
 PP: 7628+7628H 0.37mm
 2-------------1 OZ
 Core: 0.63mm
 3-------------1 OZ
 PP:7628+7628H 0.37mm
 4------------H OZ + Plating (finished 1 OZ)
 Final board thickness:1.6±0.16mm.

 ** Please use CTX UL logo.




                                                                                                                                                            Page 1 of 1
        Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 7 of 18
      [circuitronix
                                                                                                  Purchase Order
                                                                                     Date                            PO#

                                                                                   5/3/2016                ROK-136-160041-F-X29

      3131 SW 42nd Street
      Fort Lauderdale, FL 33312
      United States                                                                                                                    Page 1 of 2




      Vendor                                                             Ship To
      Rok Printed Circuit Board Co., Ltd
      No. 21 Workingshop, Dongdan Industry Park,
      High-tech Industry Zone
      Ga     id
      Guangdong   Pi Province                                            CTX Hong Kong




        PO Rev Level          Ship By          Ship Via         Memo                                  Terms                     FOB

                              5/31/2016                                                               AMS 60N                   HKG


      Part #                   Unit Type      Quantity    Description                                           Unit Price          Amount
|
1102-83-6 Rev A Piece 1,950 P/N: 1102-83-5 Rev A (File:                                                                      1.41        2,749.50
                                                          1085726_1_1_GB1ses sazip } [06-10-2014]
                                                          FR-4; 0.062 +/-0.0075 Board THK; 1/1 OZ (Finished);
                                                          21; §.5X7.5(1); 24X 189); 0.025/0.020 (Line/space);
                                                          0.038 (Hole); SMOBC (Lea Ronal Rona-screen OPSR
                                                          5600 or Enthone DSR 3241); 18S (White); HASL
                                                          (63/37 solder, thickness to be +0.003/-0.001 from
                                                          solder mask surface)
                                                          Notes:
                                                          1> Rout Length:26/Panel; Hole:293/panel; Vout 0
                                                          fpanel;
                                                          2> Build to ANS| Standard Y14.5 and and
                                                          IPC-A-600;
                                                          3> Solderability test per ANSI J-STD-003;
                                                          4>All holes are +/-0.003" total indicator reading
                                                          from x-y coordinates;
                                                          5> Material must meet UL standard 796 and be UL
                                                          recognized per UL ZMPV2 at 274 deg C min soldering
                                                          temperature for 5 seconds min;
                                                          6> Each hole musthave an annular ring of copper
                                                          except where specified by design:
                                                          7> Copperpattern: .0.000/-0.003" from supplied
                                                          artwork or    Gerber files:
                                                          >Certification of compliance required;
                                                          8> Surface lonic Contamination: Below 6.4
                                                          micro-grams / square inch NaCl equivalent per IPC
                                                          TM-650 method 2.3.28 of 2.3.28.2 (lon
                                                          Chromatography) (per spec Gl 754 tev T);
                                                          9> Surface Insulation Resistance: Greater than 100
                                                          Mega ohms per IPC TM-650 method 2.9.27. (per spec
                                                          GI 754 rev T):
                                                          10> ULL. Requirements: Flammability - 94-0 ;
                                                          Maximum Operating Temperature - 130 degrees C; UL
                                                          category code:ZPMV2 and ZPMV8.(per spec GI 754
                                                          rev    T);
 11 >All PCBs must have a CTI of 175 or greater
 which corresponds to PLC 3 or less. If the CTI
 information cannot be obtained directly through the UL
 Certification Directory, PLC <= 3 must be marked on
 the PCB in the area of the vendor's company marking.
 Ifthe PCB needs a higher CTI, board must be marked
 PLC <= X where X is whatever lower number PLCof
 CTis needed ther spec GI784 rev T);
 12> Flatness of board: Paper/Composite (CEM-1,
 FR-1, FR-2) =.016 inchvinch; Glass based and
=multilayer (FA-4)       010 inehneh; Surface Mount
= FR-4)       .0075inch/inch. (per spec GI 754 rev T);
 13> Copper thickness (PTH): 0.0009 inch minimum.
 (per spec Gl 754 rey T);
No ‘4> repairs inside of surface mount patterns (per
 spec GI 754 rev T);
 15> Conductor widths: Not to be reduced more than
 20%for any reason. (per spec Gl 754 rev T);
 16> Spacing between conductors: Not to be
 decreased by more than 20%. (per spec Gl 754 rev T);
   Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 8 of 18

circuitronix,                                                                                                            Purchase Order
                                                                                                        Date                                      PO#

                                                                                                     5/3/2016                        ROK- 136-160041 -F- x29

3131 SW 42nd Street
Fort Lauderdale, FL 33312
United States                                                                                                                                                   Page 2 of 2




Part #                           Unit Type          Quantity         Description                                                           Unit Price     Amount
                                                                     17> No pad breakout. (per spec Gl 764 rev 1);
                                                                     18> HASL: ASTM alloy 63A, 63B or equivalent MIL
                                                                     SPEC QQ-S-871): Thickness: -0.001 to +0.003 from
                                                                     solder mask surface with an absolute minimum of
                                                                     0.0009 inches (per spec GI 754 tev T);
                                                                     18>Approved Legend Inks (White): Haven PC441,
                                                                     Haven PC421, Tamura ? (for single-sided), UV Taiyo
                                                                     S-210W, UV Taiyo S-411W, UV OTC M-2T1W (per
                                                                     spec GI 754 rev T):
                                                                     20> Approved Laminates for Glass Based
                                                                     FR-4/CEM-3: Nanya NP140 (FR-4-86) Tg 140 (11),
                                                                     Nanya NP140-TL Tg 140 (11), Matsushita CEM-3
                                                                     R-1781-1786 (18). (per spec GI 784 rev T):
                                                                     21> Bar codedlabel is required. Reference Bar
                                                                     Code Label Specifications for Receiving 12.1.11.docx:
                                                                     22> Follow 3.5 ug/sqin for Chloride requirement for
                                                                     HASL and LF HASL (customer requirement);



                                                                     Please note:
                                                                     CTX ULlogo must be used on these boards.




                                                                                                                                      Total                      $2,749.50


This order Is subject fo allached Orcuilvonix terms and condiions, Olcuionix UL fogshould ba used to build the boards.

Supplier wil be responsible for all costs because of their quality issue, including any additional efforts at incoming inspection, and sorting, ete.

ifthetotal quanty of any order is not completed by the delivery date cornnitted by the factory while aocepting the orders, any addhional freight costs incurred by Cireitronix
wil be charged back to the supplier.
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[circuitronix
                                                                                                 Purchase Order
                                                                                  Date                               PO#

                                                                               5/18/2016                    ROK-AXXXXXXXX-X31

3131 SW 42nd Street
Fort Lauderdale, FL 33312
United States                                                                                                                          Page 1 of 2




Vendor                                                               Ship To
Rok Printed Circuit Board Co., Ltd
No. 21 Workingshop, Dongdan Industry Park,
High-tech Industry Zone
Guangdong Province
China                                                                CIRCUITRONIX, HKG




  PO Rev Level          Ship By          Ship Via       Memo                                         Terms                      FOB

                        6/15/2016                                                                    AMS 60N                    HKG


Part #                   Unit Type      Quantity     Description                                                Unit Price          Amount
6400134001 /             Piece               2,000   PIN: 6400134001 (per Excel) 76400-1340-01 Rev D                         0.66        1,320.00.
6400-1340-01 RevD                                    {per Gerber) (File: 01880 getber.zip,
                                                     64001340d_doc.paf, Panel dwgs for
                                                     Kiis.zip\6400 1340b_ PANEL.pat ) (06-07-2013)
                                                     FRd(See notes); 0.0620.007 Board THK; 1/1 OZ
                                                     (Finish); 2L:6.BUsice.taeis);20X24(6)¢0.0080.007
                                                     {Line/space};0.018 (Hole); SMOBC; 188: ENIG

                                                     te Rout Length:96/Panel; Hole:1020/panel; Vcut 0
                                                     fpanel:
                                                        > No’x-out allowed (per Excel):
                                                     3> RoHS compliant, RoHS process;
                                                     4> Rout width tolerance: +0.004;
                                                     5> All materials must be RoHS compliant & must
                                                     meet of exceed UL 94V-0flammability rating. (per spec
                                                     ES 3515006 rev C):
                                                     6> Laminates: per |PC-4101A/24/26/29/99, Tg
                                                     (DSC, TMA preferred): 170°C, Td (10 C/min, N2, 5%
                                                     wt. logs): 340°C, T260 (TMA): 30 mins, T288 (TMA): 5
                                                     mins,    UL approved 130°C Continuous Operating
                                                     Temperature (per spec ES 3515006 rev C):
                                                     7> ENIG: Au 2-5u", Ni 150-250u" per IPC-4562 (per
                                                     spec ES 3515006 tev C);
                                                     8> Solder mask: SMOBC, green LPI with matte
                                                     finish. Preferred solder mask thickness is 0.4 mil. Must
                                                     withstand soldering temperature of 260°C for       secs.
                                                     (per spec ES 3515006 rev C):
                                                     9> Silk screened legend color shall be white unless
                                                     otherwise specified (per spec ES 3515006 rev C):
                                                     10> Tolerances: Hole pattern and artwork
                                                     registration: 0.006 of true position. Finished hole
                                                     diameter: +/-0.003, board outline: +/-0.008 (per spec
                                                     ES 3515006 rev C);
                                                     11> Warp or twist: of 1% max. (per spec ES
                                                     3518006 rev C):
                                                     12> General Manufacture, Procurement, Quality and
                                                     Reliability of PCBs shall conform to IPC ‘6011. (per
                                                     spec ES 3515006 rev C);
                                                     13> Qualification, Performance & Acceptability
                                                     ctiteria of PCBs shall conform to IPC-6012 &
                                                     IPC-A-600 Class 2 requirements, except for the
                                                     following which shall conformto Class3 - (1) solder
                                                     mask registration, (2) annular ring & breakout, and (3)
                                                     PTHrequirements. (per spec ES 3615006 rev C):
                                                     14> Ionic contamination limits (ug/sq in): Anions:
                                                     Flouride=0.50, Chloride =2.50, Nitrite-0.
                                                     Sulfate=3.00, Bromide=7.00, Nitrate=0.50,
                                                     Phosphate=0.50; Cations: Sodium=3.00,
                                                     Ammonium=0.80, Potassium=3.00, Magnesium=0.50,
                                                     Calcium=0.50.
                                                     15> Working Gerbers and completed PCB Supplier
                                                     Checklist.xls required for new PN’s before production
                                                     begins. (per customer requirement);
                                                     16> Put additional sticker/marking on the box or
                                                     inner packs that say “use by DD/MM' for all LF-HASL
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[circuitronix
                                                                                                                         Purchase Order
                                                                                                        Date                                      PO#

                                                                                                    5/18/2016                         ROK-AXXXXXXXX-X31

3131 SW 42nd Street
Fort Lauderdale, FL 33312
United States                                                                                                                                                       Page 2 of 2




Part #                           Unit Type          Quantity         Description                                                           Unit Price         Amount
                                                                     and Enig boards (per customer requirement),

                                                                     Please note:
                                                                     CTX ULlogo must be used on these boards.




                                                                                                                                      Total                          $1,320.00


This order Is subject to attached Circuitronix terms and conditions. Ciroultronix UL logo should be used to build the boards.

Supplier wil be responsible for all costs because of their quality issue, including any additional efforts at incoming inspection, and sorting, ete.

{f the total quantity of any order is not completed bythe delivery date committed by the factory while accepting the orders, any additional freight costs incurred by Cireuitronix
wil be charged back to the supplier.
             Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 11 of 18

                                                                                                                  Purchase Order
                                                                                                                  Date                 PO
                                                                                                                                       PO##

                                                                                                                  17/11/2016           BLD-120000350-12-X19
           Circuitronix (Hong Kong) Limited
           Unit 15, 7/F, Block A, Po Lung
                                     Lung Centre
           11
           11 Wang Chiu Road
           Kowloon,
           Kowloon, HKHK                                                                                                                                 Page 1| of 2
           +852
           +852 2342
                 2342 1862
                       1862




           Vendor                                                                    Ship To
           Jiangmen Benlida
           Jiangmen Benlida Printed
                            Printed Circuit
                                    Circuit Company
                                            Company Limited
                                                    Limited
           No.
           No. 76
               76 Long Xi Road,
                  Long Xi Road, High-tech
                                High-tech Industrial
                                          Industrial Park,
                                                     Park,
           Jiangmen,
           Jiangmen,
           Guangdong, China
           Guangdong,  China
                                                                                     CTX
                                                                                     CTX HKG
                                                                                         HKG




                                                                                        Currency                  Terms                      Ship Date
                                                                                        US
                                                                                        US Dollar
                                                                                           Dollar                 AMS  60
                                                                                                                  AMS 60                     15/12/2016
                                                                                                                                             15/12/2016
Item
Item          Quantity
              Quantity        Description
                               Description                                                                        Rate
                                                                                                                  Rate              Amount
                                                                                                                                    Amount             Unit
                                                                                                                                                       Unit
P00141054 P08
|                      18,000 P/N: P00141054 P08     PO8 (per Gerber) / P00141054
                                                                           PO0141054 P07(per
                                                                                        PO7(per array drawing)              0.862         15,516.00
                                                                                                                                           15,516.00   Pieces
                              (File: 1.3.1
                                      1.3.1 -PDM double side PCB 105-105_Benzin.zip
                                                                            105-105_Benzin.zip )
                              [04-22-2016]
                              FR4 TG150 (Sheng Yi - S 1000 / Iteq - IT158 (only for second source))
                              ; 0.067” +/-10% Board THK; 100um/100um(Min
                                                                    100um/100um(Min finishfinish copper
                              thickness on surface); 2L; 7.047X12.579(5); 13.33X24(3);13.33X24(3); 0.028 //
                              0.015 (Line/space); 0.020 (Hole); SMOBC (matte green per previous        previous
                              email, Tamura DSR-330 S50-99G   $50-99G // Jiang Men
                                                                                Men ABQ RS-2000 (only for
                              second source)); 0SS;       LF HASL
                                                     OSS; LF
                              Notes:
                              Notes:
                              1>
                               1> Rout Length:94/Panel;
                                         Length:94/Panel; Hole:8257/panel; Vcut 0 /panel;   /panel;
                              2> Electrical Test and AOI Test required.
                                                                      required.
                              3> Finish copper       thicknesss   105um(min
                                            copperthicknesss 105um(min 100um   100um    delivery);
                              4> Soldermask thickness over: Flanges >7um;
                              copper:>10um;double coated.
                              5>
                               5> Solder
                                  Solder mask
                                            mask misalignment:
                                                   misalignment: +/-0.2mm;
                                                                      +/-0.2mm;
                              6> Max.     storage time before soldering: 6 month after production
                                  Max. storage
                              time.
                               time.
                              7> Quality requirements
                                              requirements per IPC-6012;
                              8> Lead free solder;
                              9> Mechanical Warpage 0.5%;
                              10>
                               10> General + position tolerance +/-0.05mm if not specified.
                              11>   Electrical and optical see IPC 6012;
                               11> Electrical
                              12>   Min copper
                               12> Min              thickness in PTH >25um;
                                          copperthickness
                              13>
                               13> Hole Tolerance:
                                           Tolerance: PTH 1.15  1.15 & 1.65+0.08/-0.05, PTH 1.3   1.3 & 1.35
                              +/-0.05;
                              14>
                               14> Slot tolerances(per previous);
                                                            previous);
                              - SLOT 1:  1: 0.85 +0.2/-0 x 5.80 +/-  +/- 0.1mm
                              - SLOT 2:      1.05
                                        2: 1.05    +0.2/-0  x 3.4 +/- 0.1mm
                              -- SLOT
                                 SLOT 3:3: 3 3 +/-
                                               +/- 0.1mm
                                                   0.1mm x  x 44 +/-
                                                                 +/- 0.1mm
                                                                     0.1mm
                              15>
                               15> Base material 1.5mm 1.5mm and FinalFinal overall thick of PCB
                                                                                             PCB should be  be
                              1.7mm
                               1.7mm +/-
                                       +/- 10%.;
                                              10%.;
                              16>
                               16>  RoHS     complaint(per     previous);
                              17>
                               17> PPAP required
                                             required (per pervious email);
                              18>
                               18> AA COMP 3003 Attachment 1 - Requirements to Initial sample
                              inspection reports
                                             reports
                              19>
                               19> AA COMP 3003 AttachmentAttachment 22 - Table of contents
                              20> AA COMP 3003 Attachment Attachment 33 - Rating sheet serial process
                                                                                                 process
                              21> AA COMP 3003 Attachment Attachment 44 - Rating sheet serial product
                                                                                                 product
                              22>
                               22> AA COMP
                                         COMP 3003 3003 Attachment 5
                              23> AA3137 - Commercial Statement of Requirements (Note: doc
                              is different for each part)
                              24> AA3147 - MarkingMarking of Components
                              25> AA3151
                                    AA3151 - Sampling and Requalification of Purchased Parts
                              26>(Applies to PO qty of 270 pcs      pcs and above) Packaging and
                              logistics terms (per Circuitronix_Logistics_Terms.pdf);
                              27> CoC required
                                           required with each shipment (date code). CoC should
                              include ionic contamination results results (before SM printing).
                              28> Solderability test report is also required with each shipment
                              (date code).
                              29> Pack 5 panels separately (part of the production PO,       PO, 55 panels
                                                                                                     panels
                              will just
                                    just be packed
                                              packed separately).
                              30> No ET Test mark allowed on the board (which includes board
                              itself & rails
                                        rails / breakaway)
                                                 breakaway) except drawing or spec requirement
                                                                                          requirementfromfrom
                              customer
                               customer(per(per customer requirement);
                                                             requirement);
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                                                                                                                  Purchase Order
                                                                                                                   Date                    PO
                                                                                                                                           PO##

                                                                                                                   17/11/2016              BLD-120000350-12-X19
Circuitronix (Hong Kong) Limited
Unit 15, 7/F, Block A, Po Lung
                          Lung Centre
11
11 Wang Chiu Road
Kowloon,
Kowloon, HKHK                                                                                                                                           Page 2 of 2
+852
+852 2342
      2342 1862
            1862



Item                        Quantity            Description                                                        Rate                Amount         Unit




Use CTX UL Logo onall
           Logoon  all boards.
                       boards.                                                                                                 Total                    $15,516.00




This
This order is subject
     orderis  subject to
                      to the
                         the attached
                             attached Circuitronix
                                      Circuitronix Terms
                                                   Terms &
                                                         & Conditions.
                                                           Conditions.

Supplier will be responsible
                 responsible for all costs because of their quality issue, including any additional efforts at Incoming Inspection and Sorting etc.
IF THE TOTAL QUANTITY OF ANY ORDER IS NOT COMPLETED BY THE DELIVERY DATE COMMITTED BY THE FACTORY WHILE
                                                                                                  WHILE ACCEPTING
THE
THE ORDERS
     ORDERS ANY
            ANY ADDITIONAL
                ADDITIONAL FREIGHT
                           FREIGHT COSTS
                                   COSTS INCURRED
                                          INCURRED BY
                                                   BY CIRCUITRONIX WOULD BE
                                                      CIRCUITRONIX WOULD BE CHARGED
                                                                            CHARGED BACK
                                                                                    BACK TO
                                                                                         TO THE
                                                                                            THE SUPPLIER.
                                                                                                SUPPLIER.
Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 13 of 18
Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 14 of 18
Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 15 of 18
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  Case 0:21-cv-60125-RNS Document 190 Entered on FLSD Docket 06/27/2023 Page 17 of 18

                                                                                                                   Purchase Order
                                                                                                                   Date                PO
                                                                                                                                       PO##

                                                                                                                   17/11/2016          ROK-120000402-27-X19
Circuitronix (Hong Kong) Limited
Unit 15, 7/F, Block A, Po Lung Centre
11 Wang Chiu Road
Kowloon, HK                                                                                                                                             Page 1 of 2
+852 2342 1862



Vendor                                                                            Ship To
ROK Printed Circuit Board Co., Ltd
No. 21 Workingshop, Dongdan Industry Park, High-tech Industry Zone
Guangdong Province,
China
                                                                                  CTX HKG




                                                                                     Currency                      Terms                    Ship Date
                                                                                     US Dollar                     AMS 60                   15/12/2016
Item
Item                      Quantity
                          Quantity            Description
                                              Description                                                          Rate
                                                                                                                   Rate             Amount
                                                                                                                                    Amount            Unit
                                                                                                                                                      Unit
P00146538 P02                        20,000   P/N: P00146538 P02 (per Gerber) / BMW PDM UKL2_LU (per spec)                  0.632         12,640.00   Pieces
                                              / DRW00004783 Rev 03 (per array dwg) (File: 3.1
                                              -PDM_double_side_PCB 6-fold_panel_for_LK_LU.zip / 3.1
                                              -PDM_double_side_PCB 6-fold_panel_for_LU [07-16-2015]
                                              DRW00004783-A03-BMW_UKL2-PDM_PCB_double_side_6-fold_pa
                                              nel_Blatt_1.pdf,
                                              DRW00004783-A03-BMW_UKL2-PDM_PCB_double_side_6-fold_pa
                                              nel_Blatt_2.pdf, LDCH_0412_DRW00004783_03.pdf [07-24-2015]
                                              FR4, Tg150C, S1000, IT158 (2nd choice); 0.067±10% overall Board
                                              THK; 3/3 OZ (Min Finish); 2L; 8.15X9.622(6); 18X24(4); 0.028/0.016
                                              (Line/space); 0.020 (Hole); SMOBC (Tamura DSR-330 S50-99G,
                                              Jiang Men ABQ RS-2000 (2nd choice), Glossy green per email); 0SS;
                                              LF HAL
                                              Notes:
                                              1> Rout Length:82/Panel; Hole:3666/panel; Vcut 0 /panel;
                                              2> AOI required;
                                              3> 1.5mm base material thickness;
                                              4> Final copper thickness 105um, min 100um delivery;
                                              5> Copper thickness in hole >25um;
                                              6> Min annular ring >0.25mm;
                                              7> Solder mask thickness over: flanges >7um, copper
                                              >10um, double coated;
                                              8> Solder mask misalignment ±0.2mm;
                                              9> Max storage time before soldering: 6 months after production
                                              time;
                                              10> Quality requirements of PCB: IPC-6012B;
                                              11> Mechanical warpage 0.5%; Allowed bending max 0.5% of edge
                                              length;
                                              12> Mill/punch;
                                              13> Wave soldering, lead free solder;
                                              14> General + position tolerance ±0.05mm if not specified;
                                              15> Samples according AA3151 + COMP 3003;
                                              16> Outline tolerance ±0.1mm;
                                              17> Tooling slot tolerance ±0.1mm;
                                              18> Feature to feature tolerance ±0.1mm;
                                              19> Slot 1.05+0.2/-0mm x 3.4±0.1mm;
                                              20> Slot 0.85+0.1/-0mm x 5.8±0.1mm;
                                              21> CoC required with each shipment (date code). CoC should
                                              include ionic contamination results (before SM printing);
                                              22> Solderability test report is also required with each shipment
                                              (date code);
                                              23> Pack 5 panels separately (part of the production PO, 5 panels
                                              will just be packed separately);
                                              24> PPAP level 3 required;
                                              25> Packaging and logistics terms (per
                                              Circuitronix_Logistics_Terms.pdf);
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                                                                                                                  Purchase Order
                                                                                                                   Date                    PO
                                                                                                                                           PO##

                                                                                                                   17/11/2016              ROK-120000402-27-X19
Circuitronix (Hong Kong) Limited
Unit 15, 7/F, Block A, Po Lung Centre
11 Wang Chiu Road
Kowloon, HK                                                                                                                                             Page 2 of 2
+852 2342 1862


Item                        Quantity            Description                                                        Rate                Amount         Unit




Use CTX UL Logo on all boards.                                                                                                 Total
                                                                                                                               Total                    $12,640.00




This order is subject to the attached Circuitronix Terms & Conditions.

Supplier will be responsible for all costs because of their quality issue, including any additional efforts at Incoming Inspection and Sorting etc.
IF THE TOTAL QUANTITY OF ANY ORDER IS NOT COMPLETED BY THE DELIVERY DATE COMMITTED BY THE FACTORY WHILE ACCEPTING
THE ORDERS ANY ADDITIONAL FREIGHT COSTS INCURRED BY CIRCUITRONIX WOULD BE CHARGED BACK TO THE SUPPLIER.
